Case 2:02-cr-00226     Document 402   Filed 08/30/12   Page 1 of 4 PageID #: 1448



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NO. 2:02-00226-01

JOSEPH SAMPSON


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On August 16, 2012, the United States of America

appeared by R. Gregory McVey, Assistant United States Attorney,

and the defendant, Joseph Sampson, appeared in person and by his

counsel, David O. Schles, for a hearing on the petition on

supervised release and amendment thereto submitted by United

States Probation Officer Troy A. Lanham, the defendant having

commenced a forty-two month term of supervised release in this

action on March 23, 2012, as more fully set forth in the

Supervised Release Revocation and Judgment Order entered by the

court on October 21, 2011.


           The court heard the admissions of the defendant, the

evidence and the representations and argument of counsel.
Case 2:02-cr-00226   Document 402   Filed 08/30/12   Page 2 of 4 PageID #: 1449



           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant failed to follow the instruction of the probation

officer on May 23, 2012, that he reside at his father’s

residence in that he did not do so, as discovered on June 7,

2012; (2) that the defendant failed to notify the probation

officer of his change in residence inasmuch as on June 7, 2012,

the probation officer learned that he had changed residences

without notifying him; (3) that the defendant failed to abide by

the special condition that he spend a period of six months in a

community confinement center inasmuch as he entered Dismas

Charities on March 24, 2012, and was terminated on May 21, 2012,

due to multiple disciplinary violations; (4) that the defendant

failed to abide by the condition that he refrain from the

excessive use of alcohol inasmuch as on August 10, 2012, the

defendant admitted to the probation officer that on or about

August 7, 2012, he engaged in the use of alcohol to the point

that he was unable to remember his behavior; and (5) that the

defendant used and possessed synthetic marijuana on July 9,

2012, as evidenced by his admission to the probation officer on
Case 2:02-cr-00226   Document 402   Filed 08/30/12   Page 3 of 4 PageID #: 1450



July 23, 2012, that he had used the substance on multiple

occasions since his discharge from Dismas Charities on May 21,

2012; all as admitted by the defendant on the record of the

hearing and as set forth in the petition on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3583(e), that the defendant

is in need of correctional treatment which can most effectively

be provided if he is confined, it is accordingly ORDERED that

the defendant be, and he hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of TEN (10) MONTHS, to be followed by a term of three (3)
Case 2:02-cr-00226   Document 402   Filed 08/30/12   Page 4 of 4 PageID #: 1451



years of supervised release upon the standard conditions of

supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the

defendant not commit another federal, state or local crime.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:      August 30, 2012


                                         John T. Copenhaver, Jr.
                                         United States District Judge
